     Case 3:21-cv-00165-DMS-BLM Document 8 Filed 06/16/21 PageID.43 Page 1 of 2



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                               UNITED STATES DISTRICT COURT
 9
                              SOUTHERN DISTRICT OF CALIFORNIA
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     FRV, a Minor, By and Through His          Case No. 21-CV-00329-DMS-BLM
12   Guardian ad litem, CRISTAL CAZARES
13   VALENZUELA; and SONIA                     ORDER REGARDING JOINT RULE
     VALENZUELA PEREZ, Individually,           42(a)(2) MOTION TO CONSOLIDATE
14                                             CASES FOR DISCOVERY AND
15              Plaintiffs,                    TRIAL
16
          v.
17
18   UNITED STATES OF AMERICA; and
     DOES 1 through 20, Inclusive,
19
20             Defendant.
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     Case 3:21-cv-00165-DMS-BLM Document 8 Filed 06/16/21 PageID.44 Page 2 of 2



 1   FRV, a Minor, By and Through His              Case No. 21-CV-00165-DMS-BLM
 2   Guardian ad litem, CRISTAL CAZARES
     VALENZUELA; and SONIA
 3   VALENZUELA PEREZ, Individually,
 4
                        Plaintiffs,
 5
 6   v.
 7
     TRI-CITY HEALTHCARE DISTRICT;
 8   TRI-CITY MEDICAL CENTER; VISTA
 9   COMMUNITY CLINIC, MELISSA
     HAWKINS, M.D.; ROMANA BAILEY,
10
     M.D.; and DOES 1 through 100,
11   Inclusive,
12
                        Defendants.
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           Upon consideration of the Joint Rule 42(a)(2) Motion to Consolidate Cases for
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     Discovery and Trial and the court being fully informed of the issues, it is hereby ordered
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18   that the higher number case, FRV, a Minor, etc., et al. v. United States of America, Case

19   No. 21-CV-00329-DMS-BLM is consolidated with the lower number case, FRV, a
20   Minor, etc., et al. v. Tri-City Healthcare District, et al., Case No. 21-CV-00165-DMS-
21   BLM, for discovery and trial, before Hon. Dana M. Sabraw, Chief District Judge, and the
22   Hon. Barbara Lynn Major, Magistrate Judge.
23
24
     Dated: June 15, 2021
25                                         ___________________________________
26                                         Hon. Dana M. Sabraw
                                           United States Chief District Judge
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